                           Case 24-15533-PDR               Doc 22       Filed 09/09/24         Page 1 of 1
Form ATYHRG


                                    United States Bankruptcy Court
                                               Southern District of Florida
                                                www.flsb.uscourts.gov
                                                                                                       Case Number: 24−15533−PDR
                                                                                                       Chapter: 13
In re:
Yovanny R Del Villar
6961 SW 1 CT
Hollywood FL 33023
SSN: XXX−XX−6042



                                                   NOTICE OF HEARING
PLEASE TAKE NOTICE that a hearing will be held before the Honorable Peter D. Russin to consider the
following:

[21] Objection to Claim of Department of the Treasury / IRS [# 1], Filed by Debtor Yovanny R Del Villar
(Blanco, Jose)

1. This matter has been set on the Court's motion calendar for a non−evidentiary hearing. The allotted time for this matter is ten
   minutes. The hearing will be held:

  Date: October 07, 2024
  Time: 10:00AM
  Location: U.S. Courthouse, 299 E Broward Blvd Courtroom 301 (PDR), Fort Lauderdale, FL

2. The movant, or movant's counsel if represented by an attorney, must:

      (a) serve a copy of this notice of hearing and, unless previously served, the above−described document(s) on all required parties
          within the time frame required by the Federal Rules of Bankruptcy Procedure, the local rules of this Court, and orders of the
          Court, and

      (b) file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B).

  Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be heard thereon.

3. PLEASE NOTE: No person may record the proceedings from any location by any means. The audio recording maintained by the
   Court will be the sole basis for creation of a transcript that constitutes the official record of the hearing.

4. PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities. Electronic devices, including but
   not limited to cameras, cellular phones (including those with cameras), iPads, tablets, pagers, personal data assistants (PDA), laptop
   computers, radios, tape−recorders, etc., are not permitted in the courtroom, chambers or other environs of this Court. These
   restrictions (except for cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
   identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses subpoenaed to appear in a
   specific case. No one is permitted to bring a camera or other prohibited electronic device into a federal courthouse facility except with
   a written order signed by a judge and verified by the United States Marshals Service. See Local Rule 5072−2.

Dated: 9/9/2024                                                       By: Jose A Blanco
